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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


  KASHMIR GILL, Individually,           :
                                        :
                                        :
                         Plaintiff,     :          CASE NO: 3:19-CV-06742-FLW-TJB
                                        :
  v.                                    :          File Electronically
                                        :
  JUS BROADCASTING CORP; JUS PUNJABI, :            RETURN DATE: JULY 1, 2019
  LLC; JUS ONE, CORP.; JUS BROADCASTING :
  CORP PVT LTD; and PENNY SANDHU        :
                                        :
                          Defendants.
                                        :




PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
 THE COMPLAINT ON THE BASIS OF LACK OF PERSONAL JURISDICTION PURSUANT
  TO FED. R. CIV. P. 12(b)(2) AND IMPROPER VENUE PURSUANT TO FED. R. CIV. 12(b)(3)
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                                                                 II
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                             PRELIMINARY STATEMENT
       Plaintiff’s Complaint has its genesis in the fraud committed by Defendant,

Penny Sandhu, individually in on behalf of entity Defendant’s by inducing Plaintiff,

Kashmir Gill, to invest over $2 million with Defendant entities upon the promise that

the investment would be converted to a 50% membership/stock ownership interest in

each entity. This court has original jurisdiction pursuant to 28 U.S.C. §1332 as a result

of the complete diversity of the parties and the amount in controversy exceeds

$75,000.00. The Plaintiff is domiciled at 51 Station Road, Morganville, New Jersey

07751. Penny Sandhu resides at 429 Pine Street, Freeport, New York 11520. The entity

Defendants have their principal address at 36-01 36th Ave, Long Island City, NY 11101,

and admittedly do not have any offices in New Jersey. Venue is properly placed in the

district of New Jersey. The Defendants acknowledge that this Court has subject–

matter jurisdiction (Fed. R. Civ. P. 12(b)(1)). However, they claim that this Court lacks

Personal Jurisdiction (Fed. R. Civ. P. 12(b)(2)) and oppose venue in New Jersey (Fed.

R. Civ. P. 12(b)(3)).

       STATEMENT OF FACTS RELEVANT TO JURISDICTION AND VENUE
       The facts underlying the defenses raised by Defendants in their motion fail to

meet the standards which must be met in order to prevail on a personal jurisdiction or

improper venue defense. In fact, the facts raised by Penny Sandhu in her affidavit

support this Court exercising jurisdiction pursuant to Fed. R. Civ. P. 1332. Defendants

acknowledge that they are domiciled in New York, while Plaintiff is domiciled in New

Jersey. Defendants claims that having no bank accounts or offices in New Jersey is

insufficient to deny venue and personal jurisdiction. Case law mandates that this Court

focus on Sandhu’s contacts with Plaintiff in the State of New Jersey, the numerous


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occasions she solicited investment funds from Kashmir Gill. Defendants ignore the fact

that Penny Sandhu came to New Jersey to our numerous occasions negotiate and

finalize the Defendant entity partnership plans with Plaintiff. (Gill Aff. ¶4). Defendant

ignores the fact that Penny Sandhu regularly telephoned and visited plaintiff in New

Jersey to request and receive all needed investments and monies from Plaintiff. (Gill

Aff. ¶¶12, 14, 18). Sandhu omits any reference to the email which she sent to Kashmir

Gill requesting him to attest in writing that his “… long-term debt $... carried on the

books of jus Punjabi LLC is converted to capital stock and accordingly stock certificate

is issued.” (Gill Aff. ¶17) or the dollar bill signed by both Sandhu “partnership for life

03/04/2013” (Gill Aff. ¶16).

       For several years, Jus Punjabi has solicited advertising from New Jersey

businesses. (Gill Aff. ¶20) The Jus Punjabi website lists several current and former

New Jersey advertisers. (Gill Aff. ¶20). Gill’s Affidavit lists several other businesses all

of which have been solicited by defendant in New Jersey to advertise on the Jus

Punjabi broadcasting network (Gill Aff. ¶20).

       Sandhu’s statements (Sandhu Decl. ¶12). that neither she nor the Defendant

entities ever had any partners is false. She conveniently forgets the fact that Jus

Punjabi LLC entered into two partnership agreements. The first was with Lakhvinder

Singh thru his wife, Parveen Gujral, granting 38% membership units in Jus Punjabi LLC

and giving 2% each to Parungandoor Ranganathan and Dr. Sujit Chakraborty in 2006.

(Gill Aff. ¶7). Thereafter, the Parveen Gujral units were conveyed to Karl Khandalawala

in 2009 (Gill Aff. ¶8). Sona Realty was thereafter granted a 10% interest in Jus Punjabi

LLC. (Gill Aff. ¶11). Sandhu and the Defendant entities did not raise necessary funds




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from Sandhu’s savings and advertising revenue. (Id.). To the contrary, Sandhu raised

all necessary funding by using other people’s money, offering them an ownership

interest in the defendant entities and then forcing a sale at a discount. Sandhu used

this ploy on three occasions which are documented in Gill’s Affidavit. He will not allow

Sandhu to come to New Jersey, take his money, and then claim she has no contacts

with this state.

      Jus Punjabi induced Gill to order and pay for $400,000 of broadcast equipment,

in its name, for the Jus Punjabi Studios. (Gill Aff. ¶14). All cameras computers and other

equipment were delivered to Gill’s offices in New Jersey. (Gill Aff. ¶14). The broadcast

equipment was then trucked to the Jus Punjabi studios (Gill Aff. ¶14). Gill regularly

conducted Jus Punjabi business from his offices in New Jersey. As set forth in the

complaint, (Gill Aff. ¶15). Plaintiff solicited television personalities, contracts with

cable broadcasting providers, negotiated contracts and conducted Jus Punjabi

business both within the United States and in India. All of his efforts emanated from

his offices in New Jersey. (Gill Aff. ¶15). Jus Punjabi seeks to reap the benefit of Gill’s

efforts which were conducted in New Jersey and then deny never transacted any

business out of this state.

      Sandhu’s statement that all necessary funding prior to receiving monies from

Plaintiff was generated from her savings and advertising revenue is contradicted by

Defendants documents previously supplied to Plaintiff and which are annexed to his

Affidavit. (Gill Aff. ¶¶6-11). Sandhu’s statement that the Defendant entities never

solicited advertising from New Jersey businesses is contradicted by the Jus Punjabi

LLC website along with the statements contained in Plaintiff’s Affidavit (Gill Aff. ¶20).




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       Prior to instituting this litigation, Gill attempted to resolve the matter directly

with Penny Sandhu and through Paul Batista, Esq. who occasionally represented Jus

Punjabi and also represented Plaintiff. (Gill Aff. ¶3). Gill explained to Batista the history

of Jus Punjabi and its former members whose interests were purchased with other

people’s money always at a loss. (Gill Aff. ¶3). Gill explained to Batista Sandhu’s

repeated proposals of partnership, and Gill’s efforts on behalf of Jus Punjabi from his

offices in New Jersey. (Gill Aff. ¶3). Paul Batista, Esq. initially sided with Plaintiff and

provided advice. Clearly his efforts were unsuccessful.

       Clearly, the Defendant’s motion is a desperate attempt to move this litigation

across the Hudson River, despite the fact that that the Jus Punjabi transmission signal

is broadcast throughout New Jersey and regularly solicits New Jersey advertisers.

                                  LEGAL ARGUMENTS
                                       LEGAL POINT I
   THE COURT CAN EXERCISE SPECIFIC JURISDICTION AND PERSONAL JURISDICTION IN THIS
                                     MATTER
       Defendants’ Motion improperly interprets all major historical case law. Absent

Pennoyer v. Neff, 95 US 714 (1877), Defendants’ brief attempts to use several cases

attempting to create a tortured analysis to redefine specific jurisdiction and personal

jurisdiction including, Burger King Corp. v. Ruzewicz, 471 US 462 (1985); Goodyear

Dunlop Tires Operations, S.A. v. Brown, 564 US 915; International Shoe Co. v.

Washington, 326 US 310 (1945); Shafer v. Heitner, 433 US 186 (1977); and World-Wide

Volkswagen Corp v. Woodson, 444 US 286 (1980). Unfortunately for Defendants, their

analysis does not pass muster as it conflates personal jurisdiction and specific

jurisdiction.




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       Plaintiff concedes that New Jersey’s long-arm jurisdiction law is to the extent

permitted by the U.S. Constitution. (see Linus Holding Corp. v. Mark Line Indus., LLC,

Civ. No. 16-3694(FLW), ___ F.Supp. 3d. ___, 2019 WL 1326893, *3 (DNJ Mar. 25, 2019)

“‘New Jersey’s long-arm statute allows ‘the exercise of personal jurisdiction to the

fullest limits of due process,’ [the Court must] ‘look to federal law for the interpretation

of the limits on personal jurisdiction.’” (quoting Malik v. Cabot Oil & Gas Corp., 710

F.App’x 561, 563 (3d Cir. 2017) (quoting IMO Indus., Inc. v. Kiekert AG, 155 F.3d 254,

259 (3d Cir. 1998))) [alteration in original]. Therefore, it becomes necessary to perform

a personal jurisdiction analysis. When performing a personal jurisdiction analysis, “‘[i]t

is well established that in deciding a motion to dismiss for lack of jurisdiction, a court

is required to accept the plaintiff’s allegations as true, and is to construe disputed facts

in favor of the plaintiff.’” (Metcalfe v. Renaissance Marine, Inc., 566 F.3d 324, 330 (3d

Cir. 2017)) (alteration in original) (quoting Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d

446, 457 (3d Cir. 2003).

       Personal Jurisdiction is a two-prong test. The first prong is: does the defendant

have minimum contacts with the forum state. If the answer is yes, the Courts can

exercise personal jurisdiction after successfully responding to the second prong:

Would exercising personal jurisdiction over the defendant comport with the notions of

“fair play and substantial justice”. International Shoe Co. v. Washington, 326 US 310,

320 (1945) (see also Burger King Corp. v. Rudzewicz, 471 US 462, 476 (1985) “Once it

has been decided that a defendant purposefully established minimum contacts within

the forum State, these contacts may be considered in light of other factors to determine

whether the assertion of personal jurisdiction would comport with ‘fair play and




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substantial justice.’” (citation omitted)). “‘Following International Shoe, ‘the

relationship among the defendant, the forum, and the litigation became the central

concern of the inquiry into personal jurisdiction.’” (Linus Holding, supra, 2019 WL

1326893 at *3) (quoting Daimler AG v. Bauman, 571 US 117, 126 (2014) (quoting Shaffer

v. Heitner, 433 US 186, 294 (1977)).

      Rudzewicz acknowledged that “territorial presence frequently will enhance a

potential defendant’s affiliation with a State and reinforce the reasonable

foreseeability of suit there . . . .” (Rudzewicz, 471 US at 476). Rudzewicz also

acknowledged that “a substantial amount of business is transacted solely by mail and

wire communications across state lines, thus obviating the need for physical presence

within a State in which business conducted.” (Id.). The Court recognized the changing

business climate in 1985, before the proliferation of cell phones, e-mail, video chat,

webcasting, and other means of communication that permit two actors to be on

separate continents and continue to transact business.

      Here, the Defendants did more than just maintain minimum contacts with the

forum state. As established in the Complaint and throughout Gill’s affidavit, Defendant

Sandhu sought out Plaintiff as an investor. (Plaintiff’s Complaint ¶24-25). Defendants

were so in need for money, that Sandhu “went to an Indian restaurant called “Akbar”

in Edison, New Jersey to pick up the check.” (Id. ¶25). For several years, Plaintiff

transacted Jus Punjabi business from his offices in New Jersey. He negotiated

contracts, he transacted business with Jus Punjabi vendors, he sought out and hired

television personalities as well as cameraman and other employees for Jus Punjabi.

Defendant Sandhu, individually, and as a representative for the other Jus Defendants




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 regularly travelled to the New Jersey to transact Jus Punjabi business with Gill, and

 obtain his counsel and most importantly to finalize the terms of the Gill’s partnership

 agreement. (Id. ¶25).

        Defendant Sandhu regularly contacted Plaintiff seeking additional monies for

 Defendants’ business needs. (Id. ¶26). Plaintiff again and again sent money to the

 Defendants from New Jersey to New York. Plaintiff, a New Jersey resident, again met

 with Defendant Sandhu in November 2011 in New Jersey. (Id. ¶27). In an attempt to

 entice Plaintiff to invest in Defendants, Defendant Sandhu forwarded to Plaintiff’s

 brother, in New Jersey, Defendants’ financials to determine if Plaintiff would invest in

 Defendant Corporations. (Gill Aff. ¶6) and (Plaintiff’s Complaint ¶28). Plaintiff acted as

 business advisor, lender and investor. Plaintiff’s actions on behalf of Jus Punjabi

 emanated in New Jersey. Defendants knew and benefited from his actions. Defendant

 Sandhu continually telephoned and visited Plaintiff in Matawan, New Jersey on

 several occasions to conduct Jus Punjabi business with her business partner in person.

        In Label v. Everglades Marina, Inc., 115 NJ 317, 322 (1989) the Court held “[i]f

 the cause of action relates directly to the contacts . . . it is one of ‘specific jurisdiction.’”

 In Keeton v. Hustler Magazine, Inc., 465 US 770, 773-74 (1984), the Supreme Court

 reversed the Court of Appeals holding that “[r]espondent’s regular circulation of

 magazines in the forum State is sufficient to support an assertion of jurisdiction in a

 libel action based on the contents of the magazine.” That is the situation in the matter

 now before the Court. Defendants committed its civilly unlawful acts in the State of

 New Jersey on a New Jersey resident. Defendants accepted investments and loans

 from Plaintiff in New Jersey. Plaintiff is now suing Defendants on said investments and




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 loans made in New Jersey. (see also Schaffer v. Heitner, 433 US 186, 204 (1977) “the

 relationship among the defendant, the forum, and the litigation . . . became the central

 concern of the inquiry into personal jurisdiction.”)

        Defendants had more than minimum contacts with New Jersey. One of its

 Partners resides in the State of New Jersey. Gill loaned and invested monies with

 Defendants, negotiated contracts for Defendants, and conducted business on behalf of

 Defendants in New Jersey. Plaintiff now sues Defendants on those investments and

 loans and Plaintiff’s actions benefiting Defendants. The Court can properly exercise

 specific and personal jurisdiction over the Defendants.

                                       LEGAL POINT II
                               VENUE IS PROPER IN THIS COURT
        Defendants’ second contention is a red herring. First, Plaintiff’s complaint

 establishes Venue by way of complete diversity of the parties in an amount exceeding

 $75,000.00, exclusive of interests and costs (28 U.S.C. §1332). (Plaintiff’s Complaint ¶1).

 Defendants motion fails to address this. Instead, Defendants’ motion challenges venue

 pursuant to 28 U.S.C. §1391(b), specifically, 28 U.S.C. §1391(b)(2).

        28 U.S.C. §1391(b)(2) requires that either “a substantial part of the events or

 omissions giving rise to the claim occurred” in the Venue. As establish, supra, in Legal

 Point I, the events giving rise to the present claim occurred in New Jersey. Defendant

 Sandhu, individually, and as a representative of Defendants visited New Jersey on

 several occasions to discuss business with Plaintiff. Defendant Sandhu provided

 financial information to Plaintiff and Plaintiff’s brother, Plaintiff transacted business on

 behalf of Defendants from New Jersey. Plaintiff now sues Defendants under the

 Federal RICO Statutes, as well as Breach of Fiduciary Duty, Fraud, Accounting, Breach



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 of Contract, Promissory Estoppel, Conversion, Deceit, Dissolution of Defendant

 Entities, Unjust Enrichment, and Piercing the Corporate Veil on events that occurred

 in the State of New Jersey.

       New Jersey has one Federal District Court. The District Court sits in three (3)

 locations, Newark, Trenton, and Camden. All events occurred in and around Edison,

 New Jersey, which is situated in Middlesex County. Trenton, situated in Mercer

 County, is the proper venue for this action as it is in close proximity to both the events

 that occurred, the Plaintiff’s residence and business, and where the meetings between

 Plaintiff and Defendant Sandhu occurred. No one is prejudiced by having the venue

 situated in the District Court of New Jersey. This is nothing more than a ploy by the

 Defendants to unnecessarily waste the Court’s time and resources.

       All of these claims arose out of actions that occurred between Plaintiff and

 Defendants, wherein Defendant Sandhu sought out the assistance of Plaintiff, a New

 Jersey resident, both by electronic means, and by visiting Plaintiff and Plaintiff’s

 representative in New Jersey. Venue is proper in the District Court of New Jersey.

 Defendants established a willingness to avail itself of New Jersey when they sought

 money from Plaintiff. Plaintiff is now suing to recover from the Defendants’ actions all

 of which occurred in New Jersey. Now that a lawsuit is involved, the bridges and

 tunnels apparently are too long to traverse.




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                                  CONCLUSION
       For the aforementioned reasons, the Court should deny Defendants’ Motion.

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